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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF LOUISIANA

                                                 §
    IN RE:                                       §       CASE NO: 17-12870
                                                 §
    REILLY-BENTON COMPANY, INC.,                 §       CHAPTER 7
                                                 §
    DEBTOR.                                      §       SECTION A
                                                 §


                                              ORDER
          Before the Court is (i) Landry & Swarr Creditors’ Motion To Substitute Creditors (the

   “Motion To Substitute”), [ECF Doc. 189], filed by the law firm of Landry & Swarr; (ii) the

   Objection by Century and PEIC to Landry & Swarr Creditors’ Motion To Substitute Creditors and

   Motion by Century and PEIC To Strike Objections to the Trustee’s Motion Filed by Donald

   Bridges and Mary Sanderson and Incorporated Memorandum, [ECF Doc. 192], filed by Century

   Indemnity Company and Pacific Employers Insurance Company (“Century & PEIC”); (iii) the

   Objection by Trustee to Landry & Swarr Creditors’ Motion To Substitute Creditors [P-189] and

   Joinder to Motion by Century and PEIC To Strike Objections to the Trustee’s Motion filed by

   Donald Bridges and Mary Sanderson [P-192] with Incorporated Memorandum, [ECF Doc. 256],

   filed by the David V. Adler, the Chapter 7 Trustee appointed in the above-captioned case (the

   “Trustee”); and (iv) the Reply in Support of Motion To Substitute and Incorporated Opposition to

   Century Parties’ Motion To Strike, [ECF Doc. 245], filed by Landry & Swarr.

          After considering the record and pleadings as well and applicable law, and for the reasons

   below, the Court GRANTS IN PART and DENIES IN PART the Motion To Substitute.
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                                   JURISDICTION AND VENUE

          This Court has jurisdiction to grant the relief provided for herein pursuant to 28 U.S.C.

   § 1334(b). The matter presently before the Court constitutes a core proceeding that this Court may

   hear and determine on a final basis under 28 U.S.C. § 157(b)(2). The venue of this case is proper

   under 28 U.S.C. §§ 1408 and 1409.

                                          BACKGROUND

          Reilly-Benton Company, Inc. (“Reilly-Benton” or, post-petition, the “Debtor”) supplied

   insulation products and materials to customers in the maritime and aerospace industries. [ECF

   Doc. 48]. But many of Reilly-Benton’s products contained asbestos and, over the years, the

   company was subjected to more than 20,000 personal injury and wrongful death actions by

   employees and their families associated with contact to asbestos. Id. On October 25, 2017, Reilly-

   Benton filed for bankruptcy relief under chapter 7 of the Bankruptcy Code. [ECF Doc. 1].

          Numerous companies insured Reilly-Benton’s liability associated with its operations

   through the years. Those insurers include Century & PEIC. [ECF Doc. 56]. Acknowledging

   coverage disputes between the parties and the cost of litigating those disputes, the Trustee and

   Century & PEIC negotiated a settlement which contemplated a sale of certain of the Debtor’s

   insurance policies to Century & PEIC. [ECF Doc. 56]. On July 31, 2020, the Trustee and Century

   & PEIC filed a motion pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure and

   § 363 of the Bankruptcy Code requesting Court approval of that proposed settlement (the “9019

   Motion”) [ECF Doc. 56]. If approved, the 9019 motion would determine Century & PEIC’s

   contribution to the bankruptcy estate and require holders of asbestos-related claims to receive

   distributions through the bankruptcy process. Id.




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          On August 14, 2020, Landry & Swarr filed an objection to the 9019 motion on behalf of

   “Donald Bridges, Tina Danos, Mary Sanderson, and Frank Franchina, among others,” [ECF Doc.

   72], thus initiating a contest matter under Bankruptcy Rule 9014. 1 In its objection, Landry &

   Swarr dropped a footnote further explaining that it “represents various plaintiffs who have claims

   or filed lawsuits against Reilly-Benton Company.” Id. Fast-forward two years, on August 22,

   2022, Landry & Swarr filed the Motion To Substitute. [ECF Doc. 189]. Landry & Swarr explain

   that three of its clients for whom it filed the objection to the 9019 Motion had passed away: Mary

   Sanderson on November 8, 2019, Donald Bridges on March 20, 2020, and Frank Franchina on

   August 30, 2020, each due to mesothelioma. Landry & Swarr seeks to substitute those claimants

   in this bankruptcy proceeding with the heirs of each. Id.

          Century & PEIC object to the substitution of the heirs of Mary Sanderson and Donald

   Bridges under Rule 25 of the Federal Rules of Civil Procedure because those plaintiffs predeceased

   the objection to the 9019 Motion that Landry & Swarr filed on their behalf; therefore, Century &

   PEIC content, the objection is a legal nullity. [ECF Doc. 192 (citing Mizukami v. Buras, 419 F.2d

   1319, 1320 (5th Cir. 1969); Campbell v. Travelers Ins., No. 06-9068, 2008 WL 145048, *1 (E.D.

   La. Jan. 14, 2008))]. 2 In response, Landry & Swarr assert that substitution here is proper as Century

   & PEIC had actual notice of Mary Sanderson’s death as Landry & Swarr was granted leave by the

   court in Sanderson’s prepetition state court action against Reilly-Benton and its insurers to

   substitute Sanderson’s heirs as the proper party in interest upon Sanderson’s death. [ECF Doc.

   256]. Landry & Swarr further argues that the parties in this bankruptcy proceeding had already



   1
            Bankruptcy Rule 9014 provides that certain of the Federal Rules of Bankruptcy Procedure
   governing adversary proceedings apply to contested matters, including Bankruptcy Rules 7017 and 7025.
   Those rules apply Federal Rules of Civil Procedure 17 and 25 to bankruptcy proceedings.
   2
            Century & PEIC do not oppose the substitution of Frank Franchina’s heirs as the real party in
   interest in this contested matter.
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   agreed to limit formal notice when the Court approved the Trustee’s Motion To Approve Certain

   Notice Procedures for Asbestos Claimants and Other Parties in Case (“Motion To Limit Notice”)

   in the early months of the case and granted with no objection. [ECF Docs. 32 & 45]. Lastly,

   Landry & Swarr assert that Federal Rule of Civil Procedure 17(a)(3), not Rule 25, permits the

   substitution of parties here. Id.

                                              DISCUSSION

           A. Louisiana Law Bars the Substitution of Heirs as Proper Parties for Mary
              Sanderson and Donald Bridges

           The “[c]apacity to sue or be sued . . . for an individual who is not acting in a representative

   capacity” is determined by “the law of the individual’s domicile.” FED. R. CIV. P. 17(b). Federal

   law, therefore, relies on state law to determine here if claimants Sanderson and Bridges may litigate

   the contested matter before this Court. “Louisiana law does not allow suits by or against the

   deceased.” See Campbell v. Travelers Ins., No. 06-9068, 2008 WL 145048, at *1 (E.D. La. 2008)

   (citing Magee v. Stacey, 223 So.2d 194, 195 (La. App. 3d Cir. 1969)). Although Rule 25(a)(1)

   allows a court to order substitution of the proper party when a party dies and the claim is not

   extinguished, that rule “is inapplicable when the deceased party predeceased the initiation of the

   litigation.” Id. (citing Mizukami v. Buras, 419 F.2d 1319, 1320 (5th Cir. 1969)).

           Here, both Sanderson and Bridges passed away prior to Landry & Swarr’s filing of the

   objection to the 9019 Motion initiating the contested matter. Accordingly, Century & PEIC are

   correct that Landry & Swarr cannot now substitute Sanderson’s and Bridges’ heirs as proper

   parties in the contested matter before the Court.




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          B. Rule 25 and Rule 17(a)(3) Allow Landry & Swarr To Substitute Franchina’s Heir
             as the Real Party in Interest in the Contested Matter

          As discussed above, Rule 25(a)(1) allows a court to order substitution of the proper party

   when a party dies and the claim is not extinguished. Franchina was the proper party to file the

   objection to the 9019 Motion when Landry & Swarr filed the objection on August 14, 2020, and

   no argument has been made to the Court that the basis for the objection has been extinguished.

   Thus, the Court finds that Franchina’s heir may be substituted as the proper party in this contested

   matter under Rules 25.

          Alternatively, Rule 17, governing the capacity of plaintiffs and defendants, requires

   generally that every “action must be prosecuted in the name of the real party in interest.” FED. R.

   CIV. P. 17(a). “The real party in interest is the person holding the substantive right sought to be

   enforced, and not necessarily the person who will ultimately benefit from the recovery.” Wieburg

   v. GTE Sw. Inc., 272 F.3d 302, 306 (5th Cir. 2001) (internal quotations and citation omitted). “The

   purpose of this provision is to assure a defendant that a judgment will be final and that res judicata

   will protect it from having to twice defend an action, once against an ultimate beneficiary of a right

   and then against the actual holder of the substantive right.” Id. (internal quotations and citation

   omitted).

          In the event that a court finds that the prosecution of the suit has not been brought by the

   real party in interest, the court may not dismiss the action; rather, “after an objection [and] a

   reasonable time has been allowed for the real party in interest to ratify, join or be substituted into

   the action,” the action proceeds as if it had been originally commenced by the real party in interest.

   FED. R. CIV. P. 17(a)(3). Rule 17 is a mechanism to cure issues regarding the real-party-in-interest,

   but application of Rule 17 cannot cure a standing or subject-matter jurisdiction defect. See, e.g.,




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   House v. Mitra QSR KNE LLC, 796 F. App’x 783, 789–91 (4th Cir. 2019); Cortlandt St. Recovery

   Corp. v. Hellas Telecomms., S.À.R.L., 790 F.3d 411, 423–24 (2d Cir. 2015).

          As a claimant in this bankruptcy case, Franchina had standing to file the objection to the

   9019 Motion on August 14, 2020. He died two weeks later. Thus, the question before the Court

   is merely whether his heir can be substituted as the real party in interest in this contested matter.

   Fifth Circuit caselaw instructs this Court in its analysis. In Magallon v. Livingston, the court

   explained that “a plaintiff must have a reasonable basis for naming the wrong party to be entitled

   to . . . substitution.” 453 F.3d 268, 273 (5th Cir. 2006). Likewise, in Rideau v. Keller Independent

   School District, the Fifth Circuit reasoned that “ratification does not depend on the absence of any

   mistake; rather, ratification is proper when the mistake is understandable.” 819 F.3d 155, 168 (5th

   Cir. 2016). Finally, in RLB Contracting v. Genesis Energy, L.P. (In re RLB Contracting, Inc.), the

   court held that a good-faith, understandable mistake compels substitution. 854 F. App’x 614, 615

   (5th Cir. 2021) (citations omitted). The Advisory Committee note to Rule 17 also provide

   guidance, explaining that Rule 17 “is intended to prevent forfeiture when determination of the

   proper party to sue is difficult or when an understandable mistake has been made.” FED. R. CIV.

   P. 17(a) advisory committee’s note. The rule was “added simply in the interests of justice.” Id.

          Given this Court’s Order limiting notice of motions filed in this case to attorneys for

   holders of asbestos-related claims, the Court finds it understandable that Landry & Swarr did not

   move to substitute Franchina’s heir as the real party in interest in this contested matter immediately

   upon Franchina’s death. No dispute exists among the parties that Franchina’s heir is in fact the

   real party in interest here; Century & PEIC will suffer no prejudice by allowing the substitution.




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          Thus, for the aforementioned reasons,

          IT IS ORDERED that the Motion To Substitute is GRANTED IN PART and DENIED

   IN PART;

          IT IS FURTHER ORDERED that Landry & Swarr is permitted to substitute Kevin

   Franchina for Frank Franchina as the real party in interest in this contested matter;

          IT IS FURTHER ORDERED that Landry & Swarr is not permitted to substitute heirs of

   Mary Sanderson or Donald Bridges as proper parties in this contested matter;

          IT IS FURTHER ORDERED that Landry & Swarr serve this Order via first-class U.S.

   Mail on all parties who will not receive electronic notice via this Court’s CM/ECF system pursuant

   to the Federal Rules of Bankruptcy Procedure, this Court’s Local Rules, and any Orders of this

   Court limiting notice in this case and file a certificate of service within three (3) days.

          New Orleans, Louisiana, this 31st day of October, 2022.




                                                  __________________________________________
                                                            MEREDITH S. GRABILL
                                                      UNITED STATES BANKRUPTCY JUDGE




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